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                                                                 Friday, 24 August, 2018 05:14:47 PM
                                                                         Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                )
                                         )
      Plaintiff,                         )
                                         )
vs.                                      )       Crim. No. 17-20037
                                         )
BRENDT A. CHRISTENSEN,                   )       Hearing Requested
                                         )
      Defendant.                         )

                   MOTION TO SUPPRESS STATEMENTS ALLEGEDLY
                        MADE TO CELLHOUSE INFORMANT

      Defendant Brendt A. Christensen, by and through his attorneys, and pursuant to

Fed. R. Crim. P. 12(b)(3)(C), moves this Court for the entry of an Order suppressing all

statements, whether written or oral, and whether inculpatory or exculpatory, which are

alleged to have been made by Mr. Christensen to an individual identified herein as “the

Confidential Source,” an inmate who was allegedly confined with Mr. Christensen in

the Macon County Jail in Decatur, Illinois, and in support thereof states as follows:

                                  Factual Background

      On June 30, 2017, Mr. Christensen was arrested by officers and agents of the

Federal Bureau of Investigation on a criminal complaint charging him with the offense

of kidnapping in violation of 18 U.S.C. § 1201. (R. 1) On July 3, 2017, Attorney Evan

Bruno of Urbana, Illinois, filed his appearance as Mr. Christensen’s privately retained

defense counsel. (R. 4) On that same date, Mr. Christensen appeared with his counsel


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for an initial appearance before United States Magistrate Judge Eric I. Long at which

time Mr. Christensen was advised of the charges, a preliminary hearing was set for July

14, 2017, and a detention hearing was set for July 5, 2017. Mr. Christensen was ordered

detained pending further hearings. (Docket Entry 07/03/2017). On July 5, 2017,

following a detention hearing and arguments of counsel, Magistrate Judge Long

ordered Mr. Christensen detained pending further proceedings. (R. 11).

      On July 12, 2017, the grand jury returned an indictment against Mr. Christensen

charging him with the offense of kidnapping in violation of 18 U.S.C. § 1201. (R. 13). Mr.

Christensen appeared before Magistrate Judge Long for arraignment on July 20, 2017, at

which time Defendant entered a plea of not guilty, and trial was scheduled for

September 12, 2017. (R. 16).

      From approximately July 3, 2017, through September 6, 2017, and for some time

thereafter, Mr. Christensen was confined in the Macon County Jail in Decatur, Illinois.

During this time another inmate, referred to herein as the “Confidential Source” or

“CS,” who was facing serious felony criminal charges in Macon County Circuit Court,

was confined in the same institution.

      Upon information and belief, the “CS” was no stranger to the criminal justice

system in Macon County. His adult criminal history included seven prior felony drug

convictions from Macon County and two other jurisdictions, one prior residential

burglary conviction in Macon County for which he received a twelve year term of

imprisonment in the Illinois Department of Corrections, and two prior felony theft

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convictions in Macon County. All ten of his prior felony convictions resulted in terms of

imprisonment being imposed.

        Upon information and belief, at the time that the “CS” and Defendant were

confined in the Macon County Jail, the “CS” was, and still is, a documented confidential

source working under the supervision, direction and control of the Decatur Police

Department, the Macon County Sheriff’s Departmen and/or, the Illinois State Police. 1

Further, upon information and belief, the “CS” was assigned to and placed in the cell

unit adjoining Mr. Christensen’s cell by state and/or local law enforcement officers and

agents of one or more of the aforementioned agencies for the purpose of his engaging

Mr. Christensen in conversations concerning Mr. Christensen’s pending federal case,

and for reporting any information obtained from Mr. Christensen to said law

enforcement officers and agents for use as evidence against Mr. Christensen.

        As a result of the conversations that the “CS” allegedly actively engaged in with

Mr. Christensen while both were confined in the Macon County Jail, Mr. Christensen is

alleged to have made various statements to the “CS” which were then reported by state

and/or local law enforcement agents to FBI/TFOs Barbara Robbins and Trevor Stalets,


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 On June 14, 2018, and July 3, 2018, Defense counsel served written discovery requests to Government
counsel pursuant to Brady v. Maryland., 373 U.S. 83 (1963) and Giglio v. United States, 405 U.S. 150
(1972) for, inter alia, all documents, reports, notes, and memoranda concerning the “CS” and his role as a
government confidential source/informant in this case. Defense counsel also requested “all documents
and information concerning the circumstances of the government’s initial and subsequent contacts and
meetings with [“CS”], and/or his attorney(s), including but not limited to all confidential source
agreements or paperwork entered into with any law enforcement agency. In its response dated July 11,
2018, Government counsel stated, in part, “[n]either the U.S. Attorney’s Office for the Central District of
Illinois nor the Federal Bureau of Investigation have entered into any confidential source agreements with
[“CS”].”
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and FBI Special Agent Anthony Manganaro, and which the government will seek to use

as evidence against him. This is improper, because the statements which Mr.

Christensen allegedly made to the “CS” while confined in the protective custody unit at

the Macon County Jail were obtained in violation of Mr. Christensen’s rights secured

under the Fifth and Sixth Amendments to the United States Constitution.

                                        Argument

        Any statement allegedly made to the “CS” by Mr. Christensen after he
        invoked his right to counsel violates Mr. Christensen’s Fifth and Sixth
        Amendment rights and should be suppressed.

        In Massiah v. United States, 377 U.S. 201 (1964), the United States Supreme Court

held that post- indictment questioning of a defendant by government agents in the

absence of the defendant's counsel constitutes a violation of the defendant's right to

counsel as guaranteed by the Sixth Amendment to the United States Constitution and

mandates suppression of any incriminating statement that the defendant allegedly

made.

        In United States v. Henry, 447 U.S. 264 (1980), the Supreme Court held that the

defendant's Sixth Amendment right to counsel was violated by the admission at trial of

incriminating statements made by the defendant to his cellmate, an undisclosed

government informant, after indictment and while in custody. In Henry, after the

defendant was indicted and confined in jail, a government agent asked a paid

informant, who was confined in the same cellblock, to "be alert" to any statements made

by the defendant. The informant was also told not to initiate any conversation with or

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question the defendant. At trial, the informant testified as to certain incriminating

statements made to him in the jail by the defendant.

          The Supreme Court held that the defendant's statements made to the cellhouse

informant were obtained in violation of the defendant's right to counsel, and were

barred under Massiah, supra, where the Court previously ruled that the Sixth

Amendment prohibits law enforcement officers from deliberately eliciting post-

indictment statements from an accused in the absence of counsel. In holding that the

government agent/cellhouse informant "deliberately elicited" statements from the

defendant, the Supreme Court found three factors to be important: 1) the informant was

acting under instructions as a paid informant for the government; 2) the informant was

ostensibly no more than a fellow inmate of the defendant; and 3) the defendant was in

custody and under indictment at the time he made the statements. 447 U.S. at 270.

          Significantly, the Court noted that the fact that the informant was told not to

initiate any conversation with the defendant was not critical to the inquiry. As the Court

stated:

                 Even if the agent's statement is accepted that he did not
                 intend that the informer would take affirmative steps to
                 secure incriminating information, he must have known that
                 such propinquity likely would lead to that result . . . By
                 intentionally creating a situation likely to induce the
                 defendant to make incriminating statements without the
                 assistance of counsel, the government violated the
                 defendant's Sixth Amendment right to counsel. This is not a
                 case where...the constable blundered ... rather, it is one
                 where the constable planned an impermissible interference
                 with the right to the assistance of counsel.

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447 U.S. at 271.

       Finally, the Court held that the defendant could not and did not waive his right

to counsel under such circumstances. “The concept of a knowing and voluntary waiver

of Sixth Amendment rights does not apply in the context of communications with an

undisclosed undercover informant acting for the government.” Id. at 273.

       Moreover, in other cellhouse informant cases, reviewing courts have found Sixth

Amendment violations under similar circumstances. United States v. O’Dell, 73 F.3d 364

(7th Cir.1995) (Sixth Amendment violation where defendant’s fellow inmate at county

jail was confidential source working for the Illinois State Police and deliberately elicited

information from defendant about defendant’s federal case); United States v. Bender, 221

F.3d 265, 268-69 (1st Cir. 2000) (Sixth Amendment violation when undercover

government agent initiated conversation with defendant about different, unrelated

crimes because state must have known its agent was likely to obtain incriminating

statements from accused); United States v. Lentz, 524 F.3d 501, 521 (4th Cir. 2008) (Sixth

Amendment violation when government advised informant to obtain specific

information); Ayers v. Hudson, 623 F.3d 301, 315-17 (6th Cir. 2010) (Sixth Amendment

violation when state returned jailhouse informant to defendant's jail pod to deliberately

elicit incriminating statements from him); Manning v. Bowersox, 310 F.3d 571, 576 (8th

Cir. 2002) (Sixth Amendment violation when government planted informants in jail cell

to elicit incriminating information from charged defendant because government


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“deliberately created a circumstance ripe for its agents to elicit incriminating statements

from [defendant]”); Randolph v. California, 380 F.3d 1133, 1146-47 (9th Cir. 2004) (Sixth

Amendment violation when police placed paid informant in defendant's jail cell for

purpose of obtaining statements).

       In this case, Mr. Christensen’s Sixth Amendment right to counsel attached at the

initiation of adversary criminal proceedings against him by the government’s filing of

the criminal complaint on June 30, 2017 (R. 1), and Mr. Christensen’s initial appearance

with his privately retained counsel before the Magistrate Judge on July 3, 2017. (R. 4)

Kirby v. Illinois, 406 U.S. 682, 689-90 (1972) (right to counsel attaches at the initiation of

judicial criminal proceedings); Thompkins v. Pfister, 698 F.3d 976, 984 (7th Cir. 2012)

(right to counsel attached at bond hearing the day after defendant’s arrest). From that

point on, Defendant was “off limits” under the Sixth Amendment to all attempts by

government agents to deliberately elicit incriminating information from him outside the

presence of his counsel. Massiah, supra.

       Further, it cannot be coincidence that such an opportunistic career criminal as the

“CS” was assigned to a cell adjacent to Defendant in the protective custody unit at the

Macon County Jail during July, 2017,. Upon information and belief, the “CS” was a

documented confidential source working under the supervision, direction, and control

of his law enforcement principals, and he was strategically placed in the cell adjacent to

Mr. Christensen’s to deliberately elicit incriminating information from Mr. Christensen

and report it to the authorities in exchange for a lenient disposition of his own serious

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criminal charges and whatever other consideration he and his lawyer may have

bargained for. In point of fact, on March 8, 2018, the “CS” pleaded guilty to a single

count of aggravated battery-great bodily harm pursuant to a plea agreement with the

Macon County States’s Attorney’s Office for an agreed sentence of 42 months

imprisonment in the Illinois Department of Corrections--a term of imprisonment which

was but a fraction of what he was facing at the time of his arrest for multiple counts of

forcible felonies in Macon County, Illinois.

       Based upon the controlling legal authorities cited herein, and the evidence to be

adduced at the hearing on this motion, this Court should find that all the statements

which Defendant allegedly made to the “CS” while confined in the protective custody

unit at the Macon County Jail were obtained in violation of Mr. Christensen’s rights

secured under the Fifth and Sixth Amendments to the United States Constitution, and

the Supreme Court’s ruling in Massiah, 377 U.S. at 201.

       WHEREFORE, Mr. Christensen requests the entry of an Order suppressing all

statements, whether written or oral, and whether inculpatory or exculpatory, which are

alleged to have been made by Mr. Christensen to an individual identified herein as the

Confidential Source.




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                                Respectfully submitted,

                                BRENDT A. CHRISTENSEN, Defendant

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                              CERTIFICATE OF SERVICE

      I hereby certify that on August 24, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to the filing: Mr. Eugene Miller and Bryan David Freres, Assistant United States

Attorneys, 201 South Vine Street, Urbana, IL 61801, and Mr. James B. Nelson, Trial

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A copy was also mailed to Mr. Christensen.

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